IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA
CHARLOTTE DIVISION

CRIMINAL NO.: 3:20cr368

UNITED STATES OF AMERICA )
) CONSENT ORDER AND
v. ) JUDGMENT OF FORFEITURE
)
MARK VAN EPERN )

BASED UPON the Defendant’s plea of guilty and finding that there is a nexus between
the property listed below and the offense(s) to which the Defendant has pled guilty and that the
Defendant(or any combination of Defendants in this case) has or had a possessory interestor other
legal interest in the property, IT IS HEREBY ORDERED THAT:

1, The following property is forfeited to the United States pursuantto 18 U.S.C. §
2253 and/or 28 U.S.C. § 2461(c), provided, however, that forfeiture of specific assets is subject to
any and all third party petitions under 21 U.S.C, § 853(n), pending f inal adjudication herein:

One 2GB OSRAM Thumbdrive, serial number 000ecc030008502c

2, The United States Marshals Service, the investigative agency, and/or the agency
contractor is authorized to take possession and maintain custody of the above specific asset(s).

3, If and to the extent required by Fed. R, Crim, P. 32,2(b)(6), 21 U.S.C. § 853(n),
and/or other applicable law, the United States shall publish notice and provide direct written notice
of forfeiture.

4, Any person, other than the Defendant, asserting any legal interest in the property
may, within thirty days of the publication of notice or the receipt of notice, whichever is earlier,
petition the court for a hearing to adjudicate the validity of the alleged interest,

5, Pursuant to Fed. R. Crim. P. 32.2(b)(3), upon entry of this order, the United States
Attorney’s Office is authorized to conduct any discovery needed to identify, locate, or dispose of
the property, including depositions, interrogatories, and request for production of documents, and
to issue subpoenas pursuant to Fed. R, Civ. P. 45.

6, As to any specific assets, following the Court’s disposition of all timely petitions,
a final order of forfeiture shall be entered. If no third party files a timely petition, this order shall
become the final order of forfeiture, as provided by Fed, R. Crim. P. 32.2(c)(2), and the United
States shall have clear title to the property, and shall dispose of the property according to law.

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The parties stipulate and agree that the aforementioned asset(s) constitute property derived
from or traceable to proceeds of Defendant’s crime(s) herein or property used in any manner to
facilitate the commission of such offense(s) and are therefore subject to forfeiture pursuant to 18
U.S.C. § 2253 and/or 28 U.S.C. § 2461(c). The Defendant hereby waives the requirements of Fed.
R. Crim. P. 32.2 and 43(a) regarding notice of the forfeiture in the charging instrument,
announcement of the forfeiture at sentencing, and incorporation of the forfeiture in the judgment
against Defendant. If the Defendant has previously submitted a claim in response to an
administrative forfeiture proceeding regarding any of this property, Defendant hereby withdraws
that claim. If Defendant has not previously submitted such a claim, Defendant hereby waives all
right to do so. As to any firearms listed above and/or in the charging instrument, Defendant
consents to destruction by federal, state, or local jaw enforcement authorities upon such legal
process as they , in their sole discretion deem to legally sufficient, and waives any and all right to
further notice of such process or such destruction.

R. ANDREW MURRAY

 

 

 

UNITED STATES ATTORNEY
Mie 0 ME Lig -
ALFREDO DE LA ROSA MARK VADVEFERN
Assistant United States Attorney =
ROB HEROY, ESQ.
Attorney for Defendant

hat HH Be cate bert
COREY PARTON, ESQ.
Attorney for Defendant

Signed this the [| day of January, 2021.

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UNITED Staten tke is(2AT® JUDGE

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